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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
MELENDEZ, et al.,

                                   Plaintiffs,
                 -against-                                               20 CIVIL 5301 (RA)

                                                                           JUDGMENT
THE CITY OF NEW YORK, et al.,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion & Order dated November 25, 2020, Defendants' motion to dismiss is

granted and Plaintiffs' claims are dismissed. Plaintiffs' motion for a preliminary injunction and

preliminary declaratory judgment is also denied; accordingly, this case is closed.

Dated: New York, New York

          November 30, 2020


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
